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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

TIMOTHY KING, MARIAN SHERIDAN,
JOHN HAGGARD, CHARLES RITCHARD,
JAMES HOOPER, DAREN RUBINGH,

                   Plaintiffs,                      No. 2:20-cv-13134
v.                                                  Judge Linda V. Parker
                                                    Mag. R. Steven Whalen
GRETCHEN WHITMER, in her
official capacity as the Governor of the
State of Michigan, JOCELYN
BENSON, in her official capacity as
Michigan Secretary of State and the
Michigan BOARD OF STATE
CANVASSERS,

                   Defendants,
and

CITY OF DETROIT, DEMOCRATIC
NATIONAL COMMITTEE and
MICHIGAN DEMOCRATIC PARTY,

                   Intervenor-Defendants.


 GREGORY ROHL, BRANDON JOHNSON, HOWARD KLEINHENDLER,
  SIDNEY POWELL, JULIA HALLER, AND SCOTT HAGERSTROM’S
                    NOTICE OF APPEAL

      Gregory Rohl, Brandon Johnson, Howard Kleinhendler, Sidney Powell, Julia

Haller, and Scott Hagerstrom—against whom the district court awarded sanctions--

hereby give notice of appeal to the United States Court of Appeals for the Sixth

Circuit from the orders and judgment of the district court imposing sanctions against
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them and awarding attorneys’ fees to the City of Detroit, Gretchen Whitmer and

Jocelyn Benson [Dkt. Nos. 172, 179, and 180], and from all orders subsumed

thereunder with respect to the Judgment.

       The Court entered final Judgment on December 2, 2021, and notice of appeal

is timely filed.

                                     Respectfully submitted,

                                     COLLINS EINHORN FARRELL PC

                                     By: /s/ Donald D. Campbell
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Dated: December 3, 2021




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                         CERTIFICATE OF SERVICE

I hereby certify that on December 3, 2021, I electronically filed Gregory Rohl,
Brandon Johnson, Howard Kleinhendler, Sidney Powell, Julia Haller, and Scott
Hagerstrom’s Notice of Appeal with the Clerk of the Court using the ECF system,
and that a copy was electronically served on all counsel of record via the ECF system
and to any counsel not registered to receive electronic copies from the court, by
enclosing same in a sealed envelope with first class postage fully prepaid, addressed
to the above, and depositing said envelope and its contents in a receptacle for the US
Mail.


                                       COLLINS EINHORN FARRELL PC

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                                       Attorneys for Hagerstrom, Haller, Johnson,
                                       Kleinhendler, Powell, and Rohl
Dated: December 3, 2021




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